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United States Magistrate Court
S86-90TX
FILED

DEC -2 2019 2A
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS David J. Bradley, Clerk
LAREDO DIVISION Laredo Division

UNITED STATES OF AMERICA
v. CRIMINAL NO. 5:19-CR-01847

MONICA CHRISTINE CANALES
RODRIGUEZ

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FACTUAL STATEMENT IN SUPPORT OF PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States Attorney for
the Southern District of Texas and Jennifer Day, Assistant United States Attorney, and the
defendant, MONICA CHRISTINE CANALES RODRIGUEZ and the defendant’s counsel,
hereby stipulate as follows:

I.

If this case proceeded to trial, the United States of America would prove each element of
the offense beyond a reasonable doubt. The following facts, among others, would be offered to
establish the Defendant’s guilt:

Il.

On September 28, 2019 at approximately 4:41 p.m., a Toyota Four Runner entered the
United States at the Lincoln-Juarez Port of Entry in Laredo, Texas. The driver, Monica Christine
Canales Rodriguez, stated she was traveling from Queretaro, Mexico to Dallas, Texas. The
Customs and Border Protection (CBP) Officer noticed Canales Rodriguez appeared nervous and
avoided eye contact. When asked about her travel, she stated that she had been visiting her
boyfriend for two weeks. The officer noticed that the Defendant was only traveling with two sets

of clothes, which was inconsistent with her story. The vehicle was referred to secondary inspection.

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During secondary inspection, officers performed a seven point inspection on the vehicle
and then asked the Defendant to drive it through the Z-portal. Officers found anomalies on the Z-
portal scan in all four tires.

A CBP Canine Enforcement Officer responded and deployed her canine. The canine alerted
to the odor of narcotics in one of the tires. Officers located 24 bundles inside the tires. Sixteen
bundles tested positive for heroin and weighed approximately 48.82 kilograms. Eight
bundles tested positive for methamphetamine and weighed 13.793 kilograms.

After rights advisement and waiver, the Defendant told agents that the vehicle had been
purchased for her from an auto auction in Dallas, Texas and registered in her name. She stated that
she had been instructed to drive it to Mexico to receive a load of narcotics and transport the load
back to the United States. The Defendant stated that she was told the drugs would be so well hidden
that they would not be found by law enforcement. The Defendant admitted to driving the Four
Runner to Michoacan, Mexico to load the narcotics. The Defendant stated that she was instructed
to drive the vehicle back to her home in Dallas, Texas. She said that she expected to be paid
$15,000 USD for transporting the drugs.

Ill.

Defendant, MONICA CHRISTINE CANALES RODRIGUEZ, hereby confesses and
judicially admits that on September 28, 2019, she did knowingly conspire to import 50 grams
or more of methamphetamine and 1 kilogram or more of a mixture or substance containing
a detectable amount of heroin, in violation of Title 21, United States Code, Sections 963,

952(a), 960(a)(1) and (b)(1)(H) and (b)(1)(A).

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MONICA CHRISTINE CANALES RO YRIGUEZ
Defendant : we

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APPROVED:

RYAN K. PATRICK
UNITED STATES ATTORNEY

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By:

 

 

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